                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                            NORTHERN DIVISION AT COVINGTON

 TIMOTHY GREGG,                                     :   CASE NO: 2:24-cv-00134-DCR
                                                    :
                Plaintiff,                          :   JUDGE: Danny C. Reeves
                                                    :
        vs.                                         :   PARTIES’ JOINT STATUS REPORT
                                                    :
 ST. ELIZABETH MEDICAL CENTER,                      :
 INC.,                                              :
                                                    :
                Defendant.                          :

       NOW COME the Parties, Timothy Gregg and St. Elizabeth Medical Center, Inc., and

hereby file their Joint Status Report in this matter.

       The Parties have been making progress in advancing the case. Each party has served upon

the other his/its responses to the other party’s first set of written discovery requests. Plaintiff

served discovery on Defendant on November 8, 2024. Defendant responded to the Interrogatories

and Requests for Admission on December 9, 2024. Defendant tendered its responses to Plaintiff’s

Request for Production of Documents on January 29, 2025, pursuant to an agreement for additional

time to tender responses.

       Defendant served its written discovery on Plaintiff on December 9, 2024. Pursuant to an

agreed extension of time to respond, Plaintiff responded to the Interrogatories on January 22, 2025,

and tendered its responses to the Request for Production of Documents on January 29, 2025.

       The Parties anticipate oral discovery starting in March 2025. Further, the Parties have

discussed engaging a mediator at the completion of oral discovery, and prior to dispositive motion

briefing.
 Respectfully Submitted,

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 Counsel for Plaintiff


                               CERTIFICATE OF SERVICE

       I hereby certify that on February 3, 2025 the foregoing has been filed with the Court’s

CM/ECF system which shall electronically serve all counsel of record:



                                           /s/ Nicholas C. Birkenhauer
                                           Nicholas C. Birkenhauer (KBA 91901)




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